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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION


BRUCE ALAN WOOTEN                                                          PLAINTIFF

v.                                        CIVIL ACTION NO. 1:19-CV-340-KS-MTP

RICHARD C. SMITH, et al.                                               DEFENDANTS



                                          ORDER

      On    April   16,   2020,    the   Magistrate   Judge   entered a    Report    and

Recommendation [58], recommending that the remaining Defendant, Richard Smith,

be dismissed without prejudice. The Magistrate Judge provided Plaintiff notice of his

right to object and directed him to file an objection within fourteen days. Plaintiff did

not object or otherwise respond.

      On October 24, 2019, the Court ordered Plaintiff to serve all Defendants,

including Richard Smith, and file proof of service on or before November 25, 2019.

Plaintiff has not filed proof of service demonstrating that he served Defendant

Richard Smith with process, and Smith has not filed a responsive pleading or

otherwise appeared in this action.

      Therefore, the Court approves and adopts the Magistrate Judge’s Report and

Recommendation [58]. The Court dismisses Plaintiff’s claims against Richard Smith

without prejudice pursuant to Rule 4(m), FED. R. CIV. P. 4(m), and because Plaintiff

failed to comply with the Court’s order of October 24, 2019. Larson v. Scott, 157 F.3d

1030, 1031 (5th Cir. 1998).
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SO ORDERED AND ADJUDGED this 1st day of July, 2020.

                                        /s/ Keith Starrett
                                                  KEITH STARRETT
                                   UNITED STATES DISTRICT JUDGE




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